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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


    SCOTT WYNN, an individual,

                Plaintiff,

    v.                                          Case No. 3:21-cv-514-MMH-LLL

    THOMAS J. VILSACK, in his
    official capacity as U.S. Secretary of
    Agriculture, et al.,

                Defendants.



                             ORDER OF DISMISSAL

          THIS CAUSE is before the Court on the Joint Stipulation of Dismissal

    (Dkt. No. 90; Stipulation) filed on September 12, 2022. In the Stipulation, the

    parties request dismissal of this matter without prejudice. See Stipulation at

    1. Accordingly, it is hereby ORDERED:

          1.    This case is DISMISSED without prejudice.

          2.    The Clerk of the Court is directed to terminate all pending motions

                and close the file.
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          3.     The Court reserves jurisdiction to consider any timely filed motion

                 for attorneys' fees and/or costs.

          DONE AND ORDERED in Jacksonville, Florida this 13th day of

    September, 2022.




    ja

    Copies to:

    Counsel of Record




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